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   9                        UNITED STATES DISTRICT COURT
  10                    CENTRAL DISTRICT OF CALIFORNIA
  11
       FRANCESCA GREGORINI,                     Case No. 2:20-cv-00406-SSS-JC
  12
                            Plaintiff,          DECLARATION OF NICOLAS A.
  13                                            JAMPOL IN SUPPORT OF
            vs.
            VS.                                 DEFENDANTS’ EX
                                                DEFENDANTS'  EX PARTE
  14                                            APPLICATION TO COMPEL
     APPLE INC., a California corporation;      PLAINTIFF’S
                                                PLAINTIFF'S DEPOSITION AND
  15 M. NIGHT SHYAMALAN, an                     TO MODIFY THE SCHEDULING
     individual, BLINDING EDGE                  ORDER TO ALLOW FOR SAME
  16 PICTURES, INC., a Pennsylvania
     corporation;
     co oration; UNCLE GEORGE
  17 PRODUCTIONS, a Pennsylvania
     corporate; ESCAPE ARTISTS LLC, a
  18 California limited liability company;
     DOLPHIN BLACK PRODUCTIONS, a
  19 California corporation; TONY
     BASGALLOP, an individual; ASHWIN
  20 RAJAN, an individual; JASON
     BLUMENTHAL, an individual; TODD
  21 BLACK, an individual; STEVE TISCH,
     an individual; and DOES 1-10, inclusive,
  22
                            Defendants.
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                                                                          WRIGHT T     TREMAINE
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   1                     DECLARATION OF NICOLAS A. JAMPOL
   2 I, Nicolas A. Jampol, declare as follows:
   3         1.     I am an attorney admitted to practice before all courts of the State of
   4 California and before this Court. I am a partner in the law firm of Davis Wright
   5 Tremaine LLP, and I am one of the attorneys representing defendants Blinding
   6 Edge Pictures, Inc., Uncle George Productions, LLC, Apple Inc., Escape Artists,
   7 Inc. (erroneously sued as Escape Artists LLC), Dolphin Black Productions, M.
   8 Night Shyamalan, Tony Basgallop, Ashwin Rajan, Jason Blumenthal, Todd Black,
   9 and Steve Tisch (collectively, "Defendants")
                                    “Defendants”) in this matter. The facts stated below
  10 are based on my own personal knowledge.
  11         2.     On November 13, 2023, my co-counsel Meenakshi Krishnan and I met
  12 and conferred with Plaintiff’s
                        Plaintiff's counsel, Antoinette Waller, on Plaintiff’s
                                                                   Plaintiff's threatened
  13 motion to compel certain of Apple's
                                 Apple’s responses to Plaintiff’s
                                                      Plaintiff's interrogatories. During
  14 our call, I asked whether Plaintiff would appear at her deposition the next day, on
  15 November 14. Ms. Waller said she would not. I explained that with the court-
  16 ordered discovery cutoff set for November 17, Defendants would have no choice
  17 but to seek relief from the Court if Plaintiff did not appear for her deposition.
  18         3.     After our call, on November 13, I sent Ms. Waller an email
  19 memorializing our conversation. I confirmed that if Plaintiff did not appear for her
  20 deposition on November 14, Defendants would file an ex parte
                                                            parte application to
  21 compel her deposition the week of November 27 and to modify the scheduling
  22 order for the sole purpose of allowing the same. I asked whether she would oppose
  23 this application.
  24         4.     On November 14, 2023, Ms. Waller responded to my email, informing
  25 Defendants'
     Defendants’ counsel that there was "no
                                        “no need"
                                            need” for Defendants'
                                                      Defendants’ counsel to attend
  26 Plaintiff’s
     Plaintiff's deposition because it "will
                                       “will not happen."
                                                 happen.” Ms. Waller stated that she
  27 opposes Defendants'
             Defendants’ ex parte
                            parte application and that "neither
                                                       “neither we nor our client are
  28 able to appear for her deposition the week of November 27."
                                                            27.”

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   1        I declare under penalty of perjury under the laws of the United States of
   2 America that the foregoing is true and correct, and that this Declaration was
   3 executed on the 15th day of November, 2023, in Los Angeles, California.
   4
                                                     /s/ Nicolas A. Jampol
   5                                                     Nicolas A. Jampol
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